        Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 1 of 22 PageID 307

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                          0LGGOH'LVWULFWRI)ORULGD
                                                    __________ District of __________
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                            Plaintiff(s)                                 )
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                                v.                                               Civil Action No. FY
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                           Defendant(s)                                  )

                                                    SUMMONS IN A CIVIL ACTION

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          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
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                                                            )RUW/DXGHUGDOH)ORULGD



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                     CLERK OF COURT

                                                                                                                    LeanneKirkland
Date:      Nov 17, 2023
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         Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 2 of 22 PageID 308

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
        Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 3 of 22 PageID 309

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      0LGGOH'LVWULFWRI)ORULGD
                                                __________ District of __________
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                           Defendant(s)                             )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
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       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
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           Nov 17, 2023
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         Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 4 of 22 PageID 310

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

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            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
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           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
        Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 5 of 22 PageID 311

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      0LGGOH'LVWULFWRI)ORULGD
                                                __________ District of __________
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                            Plaintiff(s)                            )
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                                v.                                          Civil Action No. FY
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                           Defendant(s)                             )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
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       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT

                                                                                                                 LeanneKirkland
Date:     Nov 17, 2023
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         Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 6 of 22 PageID 312

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
        Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 7 of 22 PageID 313

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      0LGGOH'LVWULFWRI)ORULGD
                                                __________ District of __________
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                           Defendant(s)                             )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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whose name and address are:
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       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT

         Nov 17, 2023                                                                                              LeanneKirkland
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         Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 8 of 22 PageID 314

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
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           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
        Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 9 of 22 PageID 315

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      0LGGOH'LVWULFWRI)ORULGD
                                                __________ District of __________
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                                v.                                           Civil Action No. FY
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                           Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
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                                                        )RUW/DXGHUGDOH)ORULGD



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT

             Nov 17, 2023                                                                                          LeanneKirkland
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         Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 10 of 22 PageID 316

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
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           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

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                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

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            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
        Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 11 of 22 PageID 317

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      0LGGOH'LVWULFWRI)ORULGD
                                                __________ District of __________
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                           Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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          A lawsuit has been filed against you.

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whose name and address are:
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                                                        )RUW/DXGHUGDOH)ORULGD



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT

           Nov 17, 2023
Date:                                                                                                                   LeanneKirkland
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         Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 12 of 22 PageID 318

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
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           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
        Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 13 of 22 PageID 319

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      0LGGOH'LVWULFWRI)ORULGD
                                                __________ District of __________
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                            Plaintiff(s)                            )
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                           Defendant(s)                             )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT

           Nov 17, 2023                                                                                          LeanneKirkland
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         Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 14 of 22 PageID 320

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
        Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 15 of 22 PageID 321

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        0LGGOH'LVWULFWRI)ORULGD
                                                  __________ District of __________
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                                v.                                             Civil Action No. FY
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                           Defendant(s)                                )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
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                                                          )RUW/DXGHUGDOH)ORULGD



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


         Nov 17, 2023                                                                                                LeanneKirkland
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         Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 16 of 22 PageID 322

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
        Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 17 of 22 PageID 323

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        0LGGOH'LVWULFWRI)ORULGD
                                                  __________ District of __________
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                                v.                                            Civil Action No. FY
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                           Defendant(s)                               )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
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       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT

          Nov 17, 2023                                                                                            LeanneKirkland
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         Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 18 of 22 PageID 324

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
        Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 19 of 22 PageID 325

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       0LGGOH'LVWULFWRI)ORULGD
                                                 __________ District of __________
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                                v.                                            Civil Action No. FY
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                           Defendant(s)                               )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
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                                                         )RUW/DXGHUGDOH)ORULGD



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT

            Nov 17, 2023                                                                                           LeanneKirkland
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         Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 20 of 22 PageID 326

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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                                                                                                                                           .


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 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
        Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 21 of 22 PageID 327

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      0LGGOH'LVWULFWRI)ORULGD
                                                __________ District of __________
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                           Defendant(s)                             )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
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                                                       )RUW/DXGHUGDOH)ORULGD



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                                                                                CLERK OF COURT

           Nov 17, 2023                                                                                         LeanneKirkland
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         Case 8:23-cv-02554-SDM-JSS Document 10 Filed 11/17/23 Page 22 of 22 PageID 328

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
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                                                                                on (date)                             ; or

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                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

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            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


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           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
